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 6

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   United States of America
 8

 9                        IN THE UNITED STATES DISTRICT COURT

10                            EASTERN DISTRICT OF CALIFORNIA

11
     UNITED STATES OF AMERICA,               CASE NO.    2:12-CR-294-TLN
12
                                             GOVERNMENT’S MOTION TO UNSEAL PLEA
13   Plaintiff,                              AGREEEMENT AND ORDER

14
     v.
15
     DARRELL P. HINZ AND GREGORY S.
16   BAKER,

17
     Defendants.
18

19

20
           At the close of the change of plea hearing for defendant Gregory
21
     S. Baker on November 5, 2015, the Court sealed the defendant’s plea
22
     agreement at the request of the government.         Upon reflection, the
23
     United States withdraws that request and moves to unseal the plea
24
     agreement.    The undersigned has spoken to defense counsel, Thomas
25
     Johnson, Esq., and neither he nor his client opposes the unsealing of
26
     ///
27
     ///
28


      GOVERNMENT’S MOTION TO UNSEAL PLEA     1
30    AGREEMENT AND ORDER
            Case 2:12-cr-00294-TLN Document 145 Filed 11/10/15 Page 2 of 2

 1 the plea agreement.

 2

 3 DATED: November 9, 2015
                                             BENAJMIN B. WAGNER
 4                                           United States Attorney
 5

 6                                           /s/ John K. Vincent
                                             JOHN K. VINCENT
 7                                           Assistant U.S. Attorney
 8

 9

10                                         O R D E R

11       In light of the government’s instant motion and the non-

12 opposition to the motion by defendant Gregory S. Baker, IT IS HEREBY

13 ORDERED that defendant Gregory S. Baker’s plea agreement is unsealed.

14       IT IS SO ORDERED.

15 Dated:     November 10, 2015

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17
                                                       Troy L. Nunley
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                                                       United States District Judge
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     GOVERNMENT’S MOTION TO UNSEAL PLEA      2
30   AGREEMENT AND ORDER
